                      Case 1:22-cr-00074-JMC Document 1 Filed 11/22/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                                v.                                   )
                                                                     )      Case No.
          Rachel Myers and Michael Gianos                            )
            DOB: XXXXXX, XXXXXX                                      )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1) and (2)
        40 U.S.C. § 5104(e)(2)(D) and (G)




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                          Neil Larson, Jr., Officer
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                           Zia M.
Date:             11/22/2021
                                                                                                           Faruqui
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          Zia M. Faruqui, U.S. Magistrate Judge
                                                                                               Printed name and title
